Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 1 of 8 Page ID #:3438



  1 Christina N. Goodrich (SBN 261722)
    christina.goodrich@klgates.com
  2 Connor J. Meggs (SBN 336159)
    connor.meggs@klgates.com
  3 K&L Gates LLP
    10100 Santa Monica Boulevard
  4 Eighth Floor
    Los Angeles, California 90067
  5 Telephone: +1 310 552 5000
    Facsimile: +1 310 552 5001
  6
    ATTORNEYS FOR PLAINTIFF
  7 ENTROPIC COMMUNICATIONS, LLC
  8 [Additional counsel on signature page]
  9
 10                       UNITED STATES DISTRICT COURT
 11                     CENTRAL DISTRICT OF CALIFORNIA
 12                                 SOUTHERN DIVISION
 13
    ENTROPIC COMMUNICATIONS, LLC, Case No. 2:22-cv-07775-JWH-JEM
 14                                (Lead Case)
                   Plaintiff,
 15                               Case No. 2:22-cv-07959-JWM-JEM
    vs.
 16
    DIRECTV, LLC, et al.
 17                               SECOND AMENDED JOINT CLAIM
                   Defendants.    CONSTRUCTION CHART
 18
 19                                Claim Construction Hearing
                                   Date: July 11, 2023
 20                                Time: 10:00 a.m.
                                   Crtm: 9D (Ronald Reagan Bldg)
 21 ENTROPIC COMMUNICATIONS, LLC,
 22                    Plaintiff,
 23 vs.
 24 DISH NETWORK CORPORATION,
    et al.
 25
                 Defendants.
 26
 27
 28


            SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 2 of 8 Page ID #:3439



  1 JASON C. LO, SBN 219030
       jlo@gibsondunn.com
  2 GIBSON, DUNN & CRUTCHER LLP
  3 333 South Grand Avenue, Suite 5400
    Los Angeles, CA 90071-3197
  4 Telephone: 213.229.7000
    Facsimile: 213.229.7520
  5
    Attorneys for Defendants DIRECTV, LLC and AT&T Services, Inc.
  6
  7 Matthew C. Bernstein, Bar No. 199240
    MBernstein@perkinscoie.com
  8 PERKINS COIE LLP
    11452 El Camino Real, Ste 300
  9 San Diego, California 92130-2080
 10 Telephone: +1.858.720.5700
    Facsimile: +1.858.720.5799
 11
    Attorneys for Defendants DISH NETWORK CORPORATION, DISH NETWORK
 12 L.L.C., and DISH NETWORK SERVICE L.L.C.,
 13 [Additional counsel listed on signature page]
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                  1
            SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 3 of 8 Page ID #:3440



  1         Plaintiff Entropic Communications, LLC (“Entropic”), Defendants DIRECTV,
  2 LLC and AT&T Services, Inc., and Defendants DISH Network Corporation, DISH
  3 Network L.L.C., and Dish Network Service L.L.C. (collectively, “Defendants”)
  4 hereby submit their Second Amended Joint Claim Construction Chart as Appendix A
  5 attached hereto.
  6         Specifically, in connection with further meet and confer efforts to attempt to
  7 reach agreement on proposed constructions, Entropic’s proposed construction of the
  8 terms in the following claims incorporates some of the same language as proposed by
  9 Defendants, but without certain limitations. These changes are reflected in Appendix
 10 A attached hereto.
 11
      Disputed Term(s) and            Entropic’s Proposed Construction
 12
      Claim Language
 13
      “digitizing the plurality of    Plain and ordinary meaning, which means
 14
      satellite broadband signals”    “digitizing the complete bands of satellite
 15
      (’576 patent, cl. 14)           broadband signals”
 16
      “integrated receiver decoder    Plain and ordinary meaning, which means “device
 17
      (IRD)” (’576 patent, cls. 14,   capable of receiving and decoding data and
 18
      18, 19, 21, 22, 41)             generating an output”
 19
      “transponder request            Plain and ordinary meaning, which means “a signal
 20
      signals” (’576 patent, cls.     directly or indirectly identifying and requesting a
 21
      14, 19, 22)                     transponder.”
 22
      “a source of said received Plain and ordinary meaning, which means “the
 23
      signal” (’008 patent, cls. 3, entity responsible for providing the received signal,
 24
      11)                             including any of its equipment.”
 25
 26
 27
 28

                                                2
                         SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 4 of 8 Page ID #:3441



  1                            SIGNATURE CERTIFICATION
  2         Pursuant to L.R. 5-4.3.4(a)(2)(i), I, Christina N. Goodrich, attest that all other
  3 signatories listed herein and on whose behalf the filing is submitted concur in the
  4 filing’s content and have authorized the filing.
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                 3
                         SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 5 of 8 Page ID #:3442



                                                By: /s/ Christina N. Goodrich
     Dated: July 10, 2023                       Christina N. Goodrich (SBN 261722)
                                                K&L GATES LLP
                                                10100 Santa Monica Blvd., 8th Fl.
                                                Los Angeles, CA 90067
                                                Tel: (310) 552-5547
                                                Fax: (310) 552-5001
                                                christina.goodrich@klgates.com

                                                James Shimota
                                                (admitted pro hac vice)
                                                Jason Engel
                                                (admitted pro hac vice)
                                                George Summerfield
                                                (admitted pro hac vice)
                                                Katherine L. Allor
                                                (admitted pro hac vice)
                                                K&L GATES LLP
                                                70 W. Madison Street, Suite 3300
                                                Chicago, IL 60602
                                                Tel.: (312) 372-1121
                                                Fax: (312) 827-8000
                                                jim.shimota@klgates.com
                                                jason.engel@klgates.com
                                                george.summerfield@klgates.com
                                                katy.allor@klgates.com

                                                Nicholas F. Lenning
                                                (admitted pro hac vice)
                                                K&L GATES LLP
                                                925 Fourth Avenue, Suite 2900
                                                Seattle, WA 98104
                                                (206) 623-7580
                                                (206) 370-6006 (fax)
                                                nicholas.lenning@klgates.com

                                                Darlene F. Ghavimi (admitted pro hac
                                                vice)
                                                Matthew Blair (admitted pro hac vice)
                                                K&L GATES LLP
                                                2801 Via Fortuna, Suite #650
                                                Austin, TX 78746

                                            4
                       SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 6 of 8 Page ID #:3443



                                                (512) 482-6919
                                                (512) 482-6859
                                                Darlene.ghavimi@klgates.com
                                                Matthew.blair@klgates.com

                                                ATTORNEYS FOR PLAINTIFF
                                                ENTROPIC COMMUNICATIONS,
                                                LLC
     Dated: July 10, 2023         GIBSON, DUNN & CRUTCHER LLP

                                        By: /s/ Jason C. Lo
                                               Jason C. Lo
                                        GIBSON, DUNN & CRUTCHER LLP
                                        333 South Grand Avenue, Suite 5400
                                        Los Angeles, CA 90071-3197
                                        Telephone: 213.229.7000
                                        Facsimile: 213.229.7520
                                        jlo@gibsondunn.com

                                        BENJAMIN HERSHKOWITZ (admitted pro
                                        hac vice)
                                        bhershkowitz@gibsondunn.com
                                        KATHERINE Q. DOMINGUEZ (admitted pro
                                        hac vice)
                                        kdominguez@gibsondunn.com
                                        GIBSON, DUNN & CRUTCHER LLP
                                        200 Park Avenue
                                        New York, NY 10166-0193
                                        Telephone: 212.351.4000
                                        Facsimile: 212.351.4035

                                        BRIAN BUROKER (admitted pro hac vice)
                                        bburoker@gibsondunn.com
                                        GIBSON, DUNN & CRUTCHER LLP
                                        1050 Connecticut Ave., N.W.
                                        Washington, D.C. 20036
                                        Telephone: 202.955.8500

                                        NATHAN R. CURTIS (admitted pro hac vice)
                                        ncurtis@gibsondunn.com
                                        AUDREY YANG (admitted pro hac vice)
                                        ayang@gibsondunn.com
                                        GIBSON, DUNN & CRUTCHER LLP
                                        2001 Ross Ave., Suite 2100
                                        Dallas, TX 75201

                                            5
                       SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 7 of 8 Page ID #:3444


                                        Telephone: 214.698.3100
                                        Facsimile: 214.571.2900
                                        Attorney for Defendants DIRECTV, LLC
                                        and AT&T Services, Inc.
                                        PERKINS COIE LLP

     Dated: July 10, 2023               By: /s/ Amanda Tessar
                                        Matthew C. Bernstein, Bar No. 199240
                                        MBernstein@perkinscoie.com
                                        PERKINS COIE LLP
                                        11452 El Camino Real, Ste 300
                                        San Diego, California 92130-2080
                                        Telephone: +1.858.720.5700
                                        Facsimile: +1.858.720.5799

                                        Amanda Tessar (admitted pro hac vice)
                                        ATessar@perkinscoie.com
                                        Trevor Bervik (admitted pro hac vice)
                                        TBervik@perkinscoie.com
                                        PERKINS COIE LLP
                                        1900 Sixteenth Street, Suite 140
                                        Denver, Colorado 80202-5255
                                        Telephone: +1.303.291.2300
                                        Facsimile: +1.303.291.2400

                                        Daniel T Keese, Bar No. 280683
                                        DKeese@perkinscoie.com
                                        PERKINS COIE LLP
                                        1120 NW Couch Street 10th Floor
                                        Portland, OR 97209-4128
                                        Telephone: +1.503.727.2000
                                        Facsimile: +1.503.727.2222

                                        Adam G. Hester, Wisconsin 1128794
                                        AHester@perkinscoie.com
                                        PERKINS COIE LLP
                                        33 East Main Street Suite 201
                                        Madison, WI 53703-3095
                                        Tel: +1.650.838.4311
                                        Facsimile: +1.650.838.4350

                                        ATTORNEYS FOR DISH NETWORK
                                        CORPORATION, DISH NETWORK
                                        L.L.C., AND DISH NETWORK SERVICE
                                        L.L.C.


                                            6
                       SECOND AMENDED JOINT CLAIM CONSTRUCTION CHART
Case 2:22-cv-07775-JWH-KES Document 266 Filed 07/10/23 Page 8 of 8 Page ID #:3445



  1                              CERTIFICATE OF SERVICE
  2        I, Christina N. Goodrich, an attorney, hereby certify that the foregoing document
  3 was filed electronically on July 10, 2023 and has been served to all counsel who have
  4 consented to electronic service.
  5
  6                                           By: /s/ Christina N. Goodrich

  7
                                              Attorney for Plaintiff Entropic
  8                                           Communications, LLC
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
